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                EXHIBIT 2
 REDACTED VERSION
  OF DOCUMENT
SOUGHT TO BE SEALED
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                                                                Page 1
                    UNITED STATES DISTRICT COURT

                  NORTHERN DISTRICT OF CALIFORNIA

                        SAN FRANCISCO DIVISION

                      Case No. 3:17-cv-00939-WHA



     WAYMO LLC,

                           Plaintiff,

     vs.

     UBER TECHNOLOGIES, INC.; OTTOMOTTO

     LLC; OTTO TRUCKING LLC,

                           Defendants.

     __________________________________/



             HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY



               VIDEOTAPED DEPOSITION OF CRAIG CLARK

                      FRIDAY, DECEMBER 22, 2017




     Reported by:

     Kelli Ann Willis, RPR, CRR

     JOB No. 2780742



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                                                               Page 46
 1   person's name, I would know her.      Julie, I want to    10:00:15

 2   say.    I know -- yeah, beyond that, I would be           10:00:20

 3   guessing.                                                 10:00:31

 4          Q.    Did you have any interaction with the ATG    10:00:32

 5   group while you were at Uber?                             10:00:34

 6                MR. STUMPHAUZER:   Object to form.           10:00:38

 7                THE WITNESS:    So, interaction, I've seen   10:00:39

 8          presentations.   I've -- I've worked with -- I     10:00:43

 9          worked with people in ATG on -- what have I        10:00:48

10          worked with ATG on?    There was -- there was      10:00:56

11          some penetration testing that was done             10:01:00

12          vis-a-vis the -- kind of their -- like,            10:01:02

13          facilities.                                        10:01:05

14               There was an encampment of homeless people    10:01:07

15          near Harrison Street that was camped out in        10:01:13

16          their -- in the area, and I was -- and they        10:01:15

17          solicited some advice from me.                     10:01:19

18   BY MS. TARAZI:                                            10:01:22

19          Q.   You said that you have seen presentations     10:01:22

20   made by ATG; is that correct?      Did I recall that      10:01:32

21   correctly?                                                10:01:35

22          A.   Yes.                                          10:01:35

23          Q.   Have you ever given presentations to the      10:01:36

24   ATG group?                                                10:01:37

25          A.   No.                                           10:01:38
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                                                                 Page 132
 1   at the meeting, or small kind of admin something.       I    12:08:57

 2   don't require -- I don't recall -- I don't recall            12:09:01

 3   using that, like, being a power user.                        12:09:06

 4        Q.     What were the default retention settings         12:09:10

 5   at UChat?                                                    12:09:14

 6        A.     I don't know.   I think at one point it          12:09:15

 7   was -- I think it varied.      I think UChat was --          12:09:16

 8   you'd have to talk to the Uber company person.               12:09:22

 9        Q.     Did you use HipChat?                             12:09:27

10       A.      I did.                                           12:09:28

11       Q.      What did you use HipChat for?                    12:09:29

12       A.      The same way I used UChat: infrequently.         12:09:31

13   It's a terrible product.    Horribly insecure.               12:09:34

14       Q.      "Horribly insecure," what does that mean?        12:09:38

15       A.      It means that the communication platform         12:09:41

16   itself is not secure.   It's been hacked multiple            12:09:43

17   times.                                                       12:09:46

18       Q.      Is UChat secure?                                 12:09:48

19       A.      I don't know.   I'm not a security -- I'm        12:09:51

20   not a security expert, but I'm not aware of                  12:09:54

21   compromises of UChat.                                        12:09:57

22       Q.      Have you used Wickr?                             12:09:59

23       A.      Yes.                                             12:10:00

24       Q.      And what did you use Wickr for?                  12:10:01

25       A.      I used Wickr for everything from                 12:10:03
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                                                             Page 139
 1        Q.   How many such discussions?                      12:16:26

 2        A.   I don't know.     Twenty.                       12:16:28

 3        Q.   And what instructions did you give              12:16:29

 4   employees regarding when to use a particular              12:16:31

 5   communications platform as opposed to another             12:16:34

 6   communications platform?                                  12:16:36

 7        A.   If you are -- if you are on legal hold,         12:16:37

 8   you can't use ephemeral communications.                   12:16:40

 9        Q.   Is that the only instruction that you ever      12:16:44

10   provided to Uber employees regarding the use of           12:16:46

11   ephemeral communications?                                 12:16:52

12       A.    I don't know.    To the best of the             12:16:59

13   recollection, that's the one that sticks out I would      12:17:04

14   tell people.                                              12:17:06

15       Q.    Did you ever instruct employees to use          12:17:09

16   ephemeral communications platforms in order to avoid      12:17:12

17   the retention of such communications?                     12:17:16

18       A.    Absolutely not.                                 12:17:18

19       Q.    I think I asked you about the retention --      12:17:38

20   the default retention of UChat, and I think you said      12:17:44

21   you don't know what the default retention period          12:17:47

22   was; is that correct?                                     12:17:50

23       A.    I don't know for sure.      It has changed,     12:17:52

24   but I think at one point it was maybe seven days.         12:17:54

25   But I'm not -- but I'm not certain.                       12:17:59
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                                                             Page 145
 1   be done through technical investigation, but then,        12:24:19

 2   ultimately, you need to sit down with the person and      12:24:21

 3   talk.    Oftentimes, it's, like, No, I did have a         12:24:23

 4   legitimate reason for looking at this.                    12:24:26

 5               So, that's why I would use Oscar.             12:24:28

 6        Q.     Did you use Oscar for any other               12:24:33

 7   investigations?                                           12:24:35

 8        A.     Not that I recall.                            12:24:36

 9        Q.     Did you use Oscar for any investigations      12:24:36

10   into Google or Waymo?                                     12:24:39

11       A.      No.                                           12:24:41

12       Q.      Did you communicate with Oscar using          12:24:45

13   Wickr?                                                    12:24:48

14       A.      I did.                                        12:24:49

15       Q.      Why did you communicate with Oscar using      12:24:50

16   Wickr?                                                    12:24:51

17       A.      It's a great secure communication             12:24:51

18   platform.                                                 12:24:54

19       Q.      What does "secure" mean?                      12:25:06

20       A.      Secure means end-to-end encrypted, and        12:25:08

21   it's ephemeral.      The best -- the best -- the most     12:25:12

22   secure way to store something is to not have it.          12:25:18

23       Q.      Did you use Oscar and TAL Global -- did       12:25:23

24   you communicate with Oscar and TAL Global via Wickr       12:25:27

25   to avoid your discussions being discovered by             12:25:35
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                                                             Page 146
 1   government investigators or parties to this               12:25:38

 2   litigation?                                               12:25:40

 3        A.   No.                                             12:25:40

 4        Q.   You were starting to say something there?       12:25:42

 5        A.   No, because I saw where you were going.         12:25:43

 6   It's just -- let's continue.                              12:25:45

 7        Q.   Do you find the question offensive?             12:25:57

 8        A.   I do.                                           12:25:59

 9        Q.   Why is that?                                    12:25:59

10       A.    Because it's accusing me of -- I find it        12:26:00

11   accusatory.                                               12:26:03

12       Q.    I'm handing you a document that we will         12:26:09

13   mark as Exhibit 9704.                                     12:26:12

14             (The referred-to document was marked by         12:26:24

15       the court reporter for Identification as              12:26:24

16       Deposition Exhibit 9704.)                             12:26:24

17   BY MS. TARAZI:                                            12:26:24

18       Q.    When you find it accusatory, what do you        12:26:26

19   mean by that?                                             12:26:28

20       A.    The question felt accusatory.                   12:26:30

21       Q.    Who is               ?                          12:26:47

22       A.    Can I have a minute with the document?          12:26:50

23       Q.    Sure.                                           12:26:52

24       A.                  , I don't know if he's a          12:27:37

25   principal or employee of           .                      12:27:41
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                                                                Page 199
 1        A.      I have.                                        02:29:19

 2        Q.      When did you instruct employees at Uber to     02:29:19

 3   designate documents attorney-client privileged?             02:29:23

 4        A.      When they were seeking legal advice.           02:29:26

 5        Q.      Is that --                                     02:29:31

 6        A.      And even if the specter of legal advice is     02:29:32

 7   there, all right?      So -- so, if I'm communicating --    02:29:36

 8   so this label thing is very interesting to me.              02:29:40

 9                In that time, the way I see it, a label is     02:29:44

10   a tag, right?    So, ultimately, privileged                 02:29:46

11   determinations are made by judges.      And they are        02:29:49

12   made by judges based on advocacy by the parties'            02:29:51

13   clients who are making decisions when they are              02:29:55

14   producing documents about what they think is                02:29:57

15   privileged or not privileged.                               02:29:59

16             Whether something has a tag on it really          02:30:01

17   facilitates review:       Hey, heads up, document           02:30:04

18   reviewers, this might be privileged.                        02:30:08

19             So, I see where you're going with this            02:30:10

20   line, Counselor, and maybe I can short-circuit it           02:30:15

21   with that.    Let's move on to your next question.          02:30:17

22       Q.    Did you provide an instruction to anyone          02:30:24

23   at Uber to mark documents as attorney-client                02:30:27

24   privileged when you believed the documents were not         02:30:30

25   privileged?                                                 02:30:35
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                                                             Page 202
 1        all I'm asking.                                      02:32:51

 2             MS. GOODMAN:   Was it Uber's policy to tell     02:32:52

 3        people to mark documents "attorney-client            02:32:55

 4        privileged" if they were not privileged?             02:32:57

 5             You can answer that question.                   02:33:01

 6             THE WITNESS:   No.                              02:33:06

 7   BY MS. TARAZI:                                            02:33:07

 8        Q.   Did you ever tell people to mark documents      02:33:07

 9   as "attorney-client privileged" when they were not        02:33:09

10   privileged?                                               02:33:12

11             MR. STUMPHAUZER:     The same issue.            02:33:13

12             MS. GOODMAN:   You can answer that              02:33:15

13       question.                                             02:33:15

14             THE WITNESS:   I'm sorry, you said I can        02:33:16

15       answer that question?                                 02:33:18

16             MS. GOODMAN:   Did you ever tell people, as     02:33:19

17       a matter of policy, to mark documents as              02:33:21

18       "attorney-client privileged" when they were not       02:33:23

19       privileged?                                           02:33:25

20             THE WITNESS:   You're saying I can answer       02:33:25

21       that question?                                        02:33:32

22             No.                                             02:33:33

23             MS. GOODMAN:   If you want to find out what     02:33:40

24       he did, in fact, tell people, show him law dog        02:33:41

25       presentation that he's referenced multiple            02:33:46
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                                                              Page 203
 1        times now.                                           02:33:49

 2             MS. TARAZI:    We'll come to that.              02:33:49

 3   BY MS. TARAZI:                                            02:34:00

 4        Q.   Well, the law dog presentation, was that        02:34:01

 5   the only presentation provided by Uber lawyers            02:34:02

 6   regarding the topic of when to designate documents        02:34:08

 7   "attorney-client privileged"?                             02:34:12

 8             MS. GOODMAN:    Object to form.                 02:34:13

 9             THE WITNESS:    I don't purport to have         02:34:16

10        knowledge of all of the presentations that           02:34:18

11        legal has given to everybody.   I also don't         02:34:19

12        characterize what that presentation does.            02:34:23

13   BY MS. TARAZI:                                            02:34:33

14        Q.   Did you attend a meeting in Pittsburgh,         02:34:33

15   Pennsylvania, relating to the use of the                  02:34:35

16   attorney-client privilege or dropped designations?        02:34:37

17        A.   I've never been to Pittsburgh.                  02:34:42

18        Q.   So that's a no?                                 02:34:44

19             MS. TARAZI:    The court reporter is going      02:35:18

20        to hand you a document marked Exhibit 9709.          02:35:25

21             (The referred-to document was marked by         02:35:32

22        the court reporter for Identification as             02:35:32

23        Deposition Exhibit 9709.)                            02:35:32

24   BY MS. TARAZI:                                            02:35:44

25        Q.   Mr. Clark, is that the law dog                  02:35:44
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                                                              Page 205
 1             MS. GOODMAN:    To be clear, meta data may      02:37:21

 2        be associated with these documents.    You may       02:37:22

 3        just not have it at your fingertips.                 02:37:25

 4             MS. TARAZI:    The question was, do you have    02:37:27

 5        it, and I said I do not.                             02:37:29

 6   BY MS. TARAZI:                                            02:37:32

 7        Q.   Did you create a version of this document       02:37:32

 8   that did not have the Uber logo on it?                    02:37:34

 9        A.   No.                                             02:37:37

10        Q.   Did you ever give a presentation using a        02:37:37

11   deck similar to this that did not have the Uber logo      02:37:43

12   on it?                                                    02:37:47

13        A.   No.    This page -- this first page is          02:37:47

14   always the same with the exception of dates.    Some      02:37:50

15   of them may have been dated different, but... so, I       02:37:53

16   wouldn't always catch the date.   But every version       02:37:57

17   of this presentation had the same slide.    This is       02:37:59

18   the Uber slide of a woman walking on a sidewalk in        02:38:05

19   San Francisco, and it is notable because we often         02:38:11

20   joke about where she's going and what she's doing.        02:38:15

21        Q.   How many times did you give a presentation      02:38:32

22   using this document?                                      02:38:33

23        A.   Using this specific deck?   I don't know.       02:38:35

24        Q.   How many times did you give a presentation      02:38:39

25   using a version of this deck?                             02:38:40
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                                                              Page 213
 1   presentations, do you just recall discussing the          02:46:35

 2   need for or the desire to provide this presentation       02:46:38

 3   with anyone other than Mat Henley?                        02:46:42

 4         A.   I'm sorry?                                     02:46:44

 5         Q.   Do you recall discussing this presentation     02:46:44

 6   with anyone other than Mat Henley?                        02:46:46

 7         A.   Yes.    I discussed it with many people.       02:46:49

 8         Q.   What did you discuss about the                 02:46:50

 9   presentation?                                             02:46:52

10         A.   Like use it.   Other people in legal wanted    02:46:52

11   it.   I was -- when I was putting it together, I was      02:46:55

12   asking around if anybody had created decks about          02:46:59

13   privilege, and people saying, Yeah, it's a great          02:47:02

14   idea, you should do it.                                   02:47:05

15              So, several people in litigation.   I          02:47:06

16   talked to Sullivan about it, perhaps.    Yeah, a lot      02:47:10

17   of people I talked to about the presentation.             02:47:17

18         Q.   What did you talk to Sullivan about it?        02:47:19

19         A.   I said I'm going to give a presentation.       02:47:21

20         Q.   Did you tell him what the presentation was     02:47:28

21   about?                                                    02:47:30

22         A.   Yeah.   I'm going give a legal overview.       02:47:31

23         Q.   Did you tell him any more than that?           02:47:33

24         A.   I don't recall.                                02:47:35

25         Q.   How much do you recall about what you told     02:47:39
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                                                                 Page 214
 1   people as you showed each slide?                             02:47:42

 2           A.   Oh, quite a bit, probably.                      02:47:44

 3           Q.   Why did you use dogs?                           02:47:46

 4           A.   I love dogs.     Do you not like dogs,          02:47:48

 5   Counsel?                                                     02:47:50

 6           Q.   It's not my deposition.                         02:47:52

 7           A.   Okay.                                           02:47:53

 8           Q.   What -- let's turn to the fourth page.          02:47:56

 9   It's marked 340308.                                          02:48:06

10        A.      340308?                                         02:48:11

11        Q.      Yes.                                            02:48:15

12        A.      Yes, I see it.                                  02:48:15

13        Q.      You put:   "Law! Equals Science"?   What is     02:48:16

14   that?                                                        02:48:20

15        A.      Actually, it says:    Law, Bang, Equals         02:48:21

16   Equal Science."      That's Javascript for:   Law does       02:48:23

17   not equal science.                                           02:48:27

18        Q.      I learned something.                            02:48:28

19        A.      I'm presenting this --                          02:48:28

20        Q.      Exclamation point equal equal is the            02:48:33

21   "not," Javascript for --                                     02:48:35

22        A.      Java script, does not equal.     Bang.   The    02:48:37

23   programmers use bang for their exclamation point.            02:48:41

24   "Bang equal equal" means "does not equal" in                 02:48:45

25   Javascript.                                                  02:48:49
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                                                                Page 215
 1               You've got to understand, I'm dealing with      02:48:50

 2   a lot of technical people, coders and things like           02:48:51

 3   this.     Another way I'm able to get rapport and work      02:48:55

 4   with these people, have them come to me, is to try          02:48:58

 5   to speak their language.      They would typically laugh    02:49:00

 6   at me when they see that.      They'd go:   Look at the     02:49:01

 7   Javascript, the old guy trying to -- the old boy            02:49:02

 8   trying to use Java script.                                  02:49:06

 9        Q.     And I clearly didn't understand it.       I     02:49:06

10   definitely do not speak Javascript.                         02:49:14

11               What did you mean by law "does not equal        02:49:15

12   science"?                                                   02:49:16

13        A.     So, again, I'm dealing with very technical      02:49:17

14   people who are -- they -- they probably think in            02:49:20

15   math and in equations, if you will.       They like         02:49:25

16   answers that are absolute.     And the law is anything      02:49:28

17   but absolute.      The law is not math.   The law is not    02:49:35

18   science.                                                    02:49:40

19        Q.     If you turn to the slide marked 340311?         02:49:43

20        A.     340311.   Yes.                                  02:49:51

21        Q.     It looks like a mock-up of an email with        02:49:57

22   an X over it.                                               02:50:01

23        A.     Yes.   Let me explain.   So, most of these      02:50:02

24   slides, I wouldn't say most, but many of these              02:50:05

25   slides have had animation that's not reflected in           02:50:09
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                                                               Page 216
 1   the printout.                                              02:50:12

 2        Q.   Okay.                                            02:50:13

 3        A.   So, carry on.                                    02:50:13

 4        Q.   What was the slide attempting to reflect?        02:50:19

 5        A.   So, I've got to back up a little bit.            02:50:23

 6             So, I've gone through -- at this point,          02:50:26

 7   I've gone through the elements of privilege, and           02:50:28

 8   then I'm giving them -- I'm showing them emails, and       02:50:31

 9   saying:   Is this -- what do you guys think?               02:50:34

10   Privileged, not privileged?                                02:50:37

11        Q.   Underneath the X, it's a little tricky to        02:50:44

12   read, but it looks like the text of the email that         02:50:49

13   you have included in the presentation says,                02:50:52

14   "Attached are the" -- do you recall what this says?        02:50:54

15        A.   No.                                              02:51:00

16        Q.   "Attached are the" -- something.     It looks    02:51:00

17   like it might be say, "numbers for last quarter."          02:51:04

18   Does that sound like it could be right?                    02:51:07

19        A.   Could be.                                        02:51:11

20        Q.   "We need to discuss ASAP.   I am marking         02:51:11

21   this attorney-client privilege due to sensitivity."        02:51:15

22             Obviously, quite a number of those letters       02:51:17

23   are blacked out, but does that sound right to you?         02:51:21

24        A.   It sounds right.                                 02:51:23

25        Q.   Then there's an X over that.                     02:51:24
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                                                              Page 217
 1             Does that indicate that you informed the        02:51:27

 2   attendees at the presentation that that email was         02:51:31

 3   not privileged?                                           02:51:33

 4        A.   This is an example that I used to say --        02:51:34

 5   again, you have got to back up to the presentation.       02:51:36

 6             So, at this point, I've kind of also            02:51:39

 7   walked people through -- there's a lot of people who      02:51:41

 8   aren't -- aren't Americans, either.    You've got         02:51:46

 9   people from all over.    We're a very diverse group of    02:51:48

10   people.                                                   02:51:51

11             So, I've given them a slight overview, a        02:51:51

12   quick overview of what -- of the litigation system        02:51:54

13   and the idea of privilege.                                02:51:59

14             At this point, I've made -- I've already        02:52:00

15   said at least once or twice that we don't make these      02:52:02

16   determinations; judges make these determinations.         02:52:05

17             So, I'm up there.   I give them this            02:52:08

18   hypothetical.    I have them read it, and people raise    02:52:11

19   their hand.   Okay, so, based upon what you've            02:52:13

20   learned so far, who thinks it's privileged?    I get      02:52:16

21   the responses.    And then the red X comes out.   I       02:52:19

22   would make the determination that this is not             02:52:23

23   privileged.   It is not concerning legal advice and       02:52:25

24   other elements are missing from it.                       02:52:40

25        Q.   What other elements are missing from it?        02:52:42
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                                                                 Page 218
 1           A.   So, I'm not going to sit and analyze it,        02:52:45

 2   but it doesn't look like it's -- the To and the              02:52:48

 3   From, yeah.                                                  02:52:52

 4           Q.   Well, I'm not asking you now, but I'm           02:52:54

 5   interested in what you told the people who attended          02:52:57

 6   the presentation as to why this would not be                 02:53:00

 7   privileged.                                                  02:53:02

 8           A.   We should just get on the record that Uber      02:53:03

 9   has waived privilege on this deck itself, correct?           02:53:05

10                MS. GOODMAN:   You can discuss the contents     02:53:09

11        of this deck and the presentation you gave              02:53:11

12        surrounding the deck.                                   02:53:16

13                THE WITNESS:   Okay.   I'm sorry.   Can you     02:53:17

14        ask your question again?                                02:53:21

15   BY MS. TARAZI:                                               02:53:23

16        Q.      Sure.   My question was:   What did you tell    02:53:30

17   the attendees at your presentation as to why this            02:53:32

18   email was not privileged?                                    02:53:39

19        A.      So I -- look, I didn't necessarily do           02:53:42

20   that.    I've already given them all the -- all the          02:53:44

21   elements.    And so, look, I don't -- when I'm               02:53:48

22   presenting, I try to be pretty dynamic.      I don't         02:53:51

23   stick to -- I want to use images because it's my             02:53:55

24   firm belief, and the best presenters that I've ever          02:53:58

25   seen don't put words on PowerPoints.      The presenter      02:54:00
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                                                                 Page 219
 1   presents the -- this should just be demonstrative.           02:54:03

 2                So, at this point, I've given -- I've           02:54:07

 3   gotten the poll.       I've gotten everybody's idea.   No    02:54:09

 4   red Xs; let's go to the next one.                            02:54:11

 5           Q.   So, if this is not the correct slide I          02:54:13

 6   should be asking about, why don't you direct me to           02:54:17

 7   the slide I should be asking about, so you can tell          02:54:19

 8   me what it is that you told the attendees as to when         02:54:23

 9   a document is protected by the attorney-client               02:54:25

10   privilege.                                                   02:54:28

11        A.      Okay.   Back up one.   And this is              02:54:29

12   difficult -- this is difficult because the animation         02:54:32

13   is not there.                                                02:54:34

14        Q.      Okay.                                           02:54:35

15        A.      And guys on the phone, I'm really sorry         02:54:37

16   about this because you're going to have no idea what         02:54:39

17   I'm talking about.                                           02:54:41

18                So, this is the picture -- I've got to          02:54:43

19   slow down talking to you.       I'm so sorry.   I'll slow    02:54:45

20   down.                                                        02:54:48

21                Underneath there, you see two -- it looks       02:54:49

22   like tin cans, underneath the images.                        02:54:51

23        Q.      Yes, I see that.   Yes.                         02:54:55

24        A.      Do you see that?                                02:54:55

25        Q.      Uh-huh.                                         02:54:56
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                                                               Page 220
 1        A.     So, that's the first image that pops up on     02:54:56

 2   the slide, and I'm walking through the elements, and       02:55:00

 3   there's a string between those two cans.                   02:55:02

 4               I say:   What does the attorney-client         02:55:04

 5   privilege cover?     It covers a communication.    It      02:55:06

 6   could be any kind of communication.      It could be a     02:55:08

 7   conversation.    It could be an email.   It can be a       02:55:11

 8   memo.    It could be a Wickr.   It could be a -- a --      02:55:14

 9   whatever it is, it just has to be a communication.         02:55:17

10              And then I say:   Next element, it has to       02:55:21

11   be between a lawyer, our little law dog main guy           02:55:23

12   pops up here, and a client.     And our little dog with    02:55:29

13   glasses over there pops up.     All right?   So then       02:55:34

14   I've got them following along.                             02:55:37

15              You can't see this really at all, but you       02:55:39

16   see it looks like there's a top of a road sign that        02:55:40

17   pops up there, and I say:    It has to be of and           02:55:43

18   concerning legal advice.                                   02:55:50

19              And the sign post is up there, and it has       02:55:51

20   help, support, advice, blah, blah, blah.     I give        02:55:54

21   some examples about it.    These other images you          02:55:59

22   cannot see here, but I think there's a dog that            02:56:02

23   looks very embarrassed like it did something wrong.        02:56:05

24   There's another one of a dog biting the finger             02:56:08

25   there.    And then there's Kujo in the cage down at        02:56:12
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                                                              Page 221
 1   the bottom there.                                         02:56:15

 2             So, I'm giving them examples of what is of      02:56:15

 3   and concerning legal advice.   Well, it could be          02:56:18

 4   broad, it could be narrow, but it's usually               02:56:20

 5   something where you're thinking, man, I've got to         02:56:22

 6   talk to a lawyer.                                         02:56:24

 7             There's somebody in the lobby who has           02:56:25

 8   chained himself to a bench and they're protesting,        02:56:28

 9   and you're calling me for -- what are we going to do      02:56:32

10   to remove them, right?   How do we engage with law        02:56:36

11   enforcement?                                              02:56:40

12             There's somebody -- somebody has --             02:56:40

13   there's been a horrific homicide in the city that we      02:56:43

14   are operating in, and the -- and we need to -- we         02:56:49

15   need to mobilize to get information to law                02:56:53

16   enforcement.                                              02:56:56

17             There's a contract that you've worked on        02:56:57

18   that you think has maybe been breached.                   02:56:58

19             So, those are the examples that I go            02:57:02

20   through with this.                                        02:57:03

21             And then the last dog, our -- our bulldog       02:57:04

22   here pops out, and I said:   It cannot be used to         02:57:08

23   commit a crime or fraud.                                  02:57:11

24        Q.   That's the dog with the sunglasses?             02:57:14

25        A.   Yeah, that's our gangster bulldog there.        02:57:18
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                                                              Page 222
 1   Pretty nefarious, huh?                                    02:57:21

 2        Q.   Did you provide any other guidance other        02:57:24

 3   than the guide you just described?                        02:57:27

 4        A.   Yes.   I continue through the deck.             02:57:31

 5        Q.   On this slide regarding generally the           02:57:32

 6   contours of attorney-client privilege?                    02:57:34

 7        A.   So, that's it in a nutshell.    Now, because    02:57:38

 8   I don't follow a book when I'm presenting these           02:57:42

 9   things, certainly there's some variance.     It would     02:57:44

10   be unlikely I used the exact same examples and            02:57:48

11   certainly not the same language each time.                02:57:51

12             MS. TARAZI:    Let's go off the record.         02:57:54

13             THE VIDEOGRAPHER:   Off the record.             02:57:57

14        2:55 p.m.   This is the end of Media Unit No. 3.     02:57:57

15             (Thereupon, a recess was taken, after           02:58:18

16        which the following proceedings were held:)          02:58:18

17             THE VIDEOGRAPHER:   We are back on the          03:03:11

18        record at 3:01 p.m.   This is the beginning of       03:03:11

19        Media Unit No. 4.                                    03:03:14

20   BY MS. TARAZI:                                            03:03:16

21        Q.   Mr. Clark, did you ever instruct the            03:03:16

22   employees to be over-inclusive in their privilege         03:03:19

23   designations?                                             03:03:22

24             MS. GOODMAN:   You may answer that              03:03:26

25        question.                                            03:03:27
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                                                                   Page 223
 1                THE WITNESS:    No.   This is, I hope,            03:03:28

 2           demonstrating the exact opposite.     It is            03:03:36

 3           meaningless to do so.      Ultimately, an arbitrary    03:03:43

 4           of what is privileged or not privileged is a           03:03:44

 5           judge.   And the designation and the propriety         03:03:50

 6           of those designations are done by outside              03:03:54

 7           counsel, typically, who are doing productions.         03:03:56

 8   BY MS. TARAZI:                                                 03:03:58

 9           Q.   Let's turn to the slide that's Bates              03:04:04

10   stamped 340312.                                                03:04:06

11        A.      340312.                                           03:04:10

12        Q.      Two pages on.                                     03:04:14

13        A.      Yes.                                              03:04:15

14        Q.      So, again, I don't really want to try to          03:04:15

15   read through the X here, but I believe what it --              03:04:20

16   but I'm going to do it anyway.        I believe what the       03:04:22

17   email underneath the X states that I'm happy to --             03:04:25

18        A.      I'm happy to report that the -- hmm.              03:04:31

19        Q.      Something for department performance?             03:04:38

20        A.      Yeah.                                             03:04:41

21        Q.      Are --                                            03:04:42

22        A.      Oh, yeah.   I can give you the gist of            03:04:44

23   this.                                                          03:04:46

24        Q.      Sure, that would be really helpful.               03:04:46

25        A.      So, this is -- see, you've got the From           03:04:48
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                                                                  Page 224
 1   and To.    So, it's from legal bud.   I don't know if         03:04:50

 2   I -- no.   It's legal budget.     So, legal budget.    And    03:04:53

 3   it's coming from the legal budget person to Johnny            03:04:58

 4   Law, who is senior counsel of whoever, and it's an            03:05:02

 5   operations update and attorney-client privileged.             03:05:05

 6              And it says, "I'm happy to report" -- you          03:05:10

 7   know, whatever.   This is about budget and spend for          03:05:12

 8   outside counsel, and it's -- the budget for outside           03:05:15

 9   counsel has declined.                                         03:05:19

10        Q.    The written transcript will not reflect            03:05:21

11   that, but there was a note of pride in your voice.            03:05:24

12   Outside counsel found, amusing.                               03:05:31

13        A.    And it's -- it's marked "privileged" and           03:05:37

14   then I -- I'm sorry, there's no question pending.             03:05:39

15   Why don't you ask.                                            03:05:42

16        Q.    I think you guessed where I was going,             03:05:43

17   which was, this is an example of the kind of                  03:05:45

18   communication that you instructed attendees at the            03:05:48

19   presentation would not be privileged?                         03:05:50

20        A.    This gets the red X.                               03:05:53

21        Q.    Indicating that it was not privileged?             03:05:57

22        A.    Correct.                                           03:05:59

23        Q.    And I think we covered this earlier:       Does    03:06:00

24   the red X on the prior page also indicate that this           03:06:04

25   is a communication that you did not -- that you               03:06:07
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                                                              Page 225
 1   instructed the attendees at the presentation would        03:06:10

 2   not be considered privileged?                             03:06:12

 3        A.   Correct.                                        03:06:15

 4        Q.   That was a very long sentence.                  03:06:18

 5             The next page, the page marked 313, the         03:06:23

 6   subject line of that email looks like it needs            03:06:28

 7   your -- an A.     Is that "advice" under there?           03:06:32

 8        A.   I think so.                                     03:06:34

 9        Q.   I don't want you to guess.                      03:06:37

10        A.   I need your -- yeah, ASAP.    Maybe I need      03:06:39

11   your advice, need your advice ASAP, or something to       03:06:45

12   that effect.                                              03:06:49

13        Q.   Is this an example of a communication that      03:06:49

14   you instructed attendees would be considered              03:06:54

15   privileged?                                               03:06:58

16        A.   I will walk you through and give you a          03:06:59

17   little context.    This one I try to get a little         03:07:01

18   tricky with them.                                         03:07:04

19             So, I've got it coming from the bis dev         03:07:05

20   department, once again, to Johnny Law, who I think        03:07:07

21   is only counsel this time.    Poor Johnny.                03:07:09

22             It says:    I need your advice.    It says:     03:07:11

23   I'm concerned about a something deal.    Is the           03:07:14

24   indemnity provision okay?                                 03:07:16

25             What does everybody think?    And so some       03:07:19
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                                                               Page 226
 1   people who -- no matter what they say, I say:      But     03:07:23

 2   it's not marked.     It's not marked privileged.           03:07:25

 3               They go:   Oh, yeah.                           03:07:28

 4               I said green check.    It's still              03:07:31

 5   privileged.    The marking means nothing.   The marking    03:07:32

 6   is irrelevant to whether a communication qualifies         03:07:36

 7   for privileged treatment.                                  03:07:40

 8        Q.     Let's turn to the next slide.                  03:07:44

 9        A.     I love Fido over here.                         03:07:49

10        Q.    I'm really getting a sense of your love of      03:07:52

11   dogs in general --                                         03:07:54

12        A.    Agree.                                          03:07:55

13        Q.    -- in your presentations.                       03:07:57

14              Are these various quotes scattered over         03:07:59

15   the next two slides quotes that you discussed with         03:08:01

16   the attendees at the presentation?                         03:08:08

17        A.    Yes.   So, again, there's animation here        03:08:10

18   that obviously doesn't come through on the printout,       03:08:13

19   but, so, all you have coming up first is this chain        03:08:15

20   of dogs.                                                   03:08:19

21              So, we've got -- we've got a big old            03:08:20

22   bulldog over here who's -- and I give them a little        03:08:25

23   setup.    So, there's no red Xs and there's no green       03:08:27

24   checkmarks at this point.    So, they're just looking      03:08:30

25   at it and I take them through this.                        03:08:33
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                                                                  Page 227
 1              Here is our bulldog.   He's an outside             03:08:35

 2   vendor, and he's negotiating a contract with our bis          03:08:39

 3   dev dog here.     And them bis dev dog communicates           03:08:41

 4   with Fido, who gives his advice and very sensitive            03:08:49

 5   strategy back to bis dev dog, and then bis dev                03:08:52

 6   dog -- that's got to be driving the court reporter            03:08:59

 7   crazy -- and then bis dev dog sends it over as an             03:08:59

 8   FYI, in case you are interested, and he sends it to           03:09:06

 9   this group, the round table dogs down below.                  03:09:09

10             So, I walk them through each stage and              03:09:12

11   say:   Okay, what do you guys think?    Is this               03:09:14

12   privileged?   Is this not privileged?                         03:09:17

13             So, the first one gets a red X.      It's an        03:09:21

14   arm's length negotiation.    An outsider.                     03:09:23

15             Here, we've got bis dev dog and Fido going          03:09:26

16   back and forth.    It seems like all the elements are         03:09:30

17   there.                                                        03:09:33

18             Then I say:    Look, it's unclear.   I don't        03:09:33

19   know these -- who the round table dogs are.       Are         03:09:35

20   they internal people?    Are they external people?      Do    03:09:38

21   they need to know these things?    Should they have           03:09:42

22   been included in the first place?                             03:09:44

23             This is where, remember, guys, law does             03:09:46

24   not equal science.    Law does not equal math.    There       03:09:48

25   are -- there are states, and the evidence laws in             03:09:51
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                                                              Page 228
 1   states are different.     Everywhere, judges may look     03:09:55

 2   at the same set of facts and come to different            03:09:59

 3   conclusions.    So, it's tenuous, but we're going to      03:10:01

 4   give it a no.                                             03:10:04

 5        Q.   Let's turn to the next slide, marked 316,       03:10:06

 6   then.                                                     03:10:11

 7        A.   Yes.    I'm sorry.   316?                       03:10:11

 8        Q.   Sorry.   Two after the one you were just        03:10:16

 9   describing.                                               03:10:18

10        A.   Okay.                                           03:10:20

11        Q.   What did you tell the participants when         03:10:22

12   you showed them this slide?                               03:10:25

13        A.   So, I was giving them a real world,             03:10:27

14   close-to-home, hard-hitting example of illustrating       03:10:29

15   the points that I've gone through on privilege; that      03:10:32

16   ultimately it's a judge that makes decisions about        03:10:35

17   whether something is privileged or not.                   03:10:38

18        Q.   Did you discuss the Meyer case with them        03:10:39

19   in connection with this slide or the next slide?          03:10:43

20        A.   Briefly, yes.                                   03:10:47

21        Q.   What did you tell them?                         03:10:47

22        A.   I told them that it was a situation where       03:10:48

23   the -- the -- there was a request to -- this is --        03:10:51

24   I'm sorry, I have to check with counsel, like how --      03:10:57

25   is that any different?    You've waived on the entire     03:11:01
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                                                                 Page 229
 1   presso, yeah.                                                03:11:05

 2             MS. GOODMAN:    The question is:   What did        03:11:07

 3        you tell them about these next two slides?       You    03:11:08

 4        can answer that question.                               03:11:10

 5             THE WITNESS:    Okay.   So, I gave them a          03:11:11

 6        brief synopsis of the -- of the facts in Meyer          03:11:13

 7        and the -- and the side show that was the --            03:11:16

 8        that ultimately was litigated, and I walked             03:11:24

 9        them through Judge Rakoff's order, or at                03:11:27

10        least -- I didn't walk them through every page.         03:11:33

11        In fact, this -- I didn't walk them through             03:11:38

12        every page of the order.     I gave them a little       03:11:39

13        bit of background on that and highlighted --            03:11:41

14        I'm sorry.    Do you want me to keep going?   Do        03:11:44

15        you have a question?                                    03:11:47

16   BY MS. TARAZI:                                               03:11:47

17        Q.   Well, I was going to ask you a question            03:11:47

18   about the next slide, which is a slide marked 317.           03:11:49

19   It looks like you boxed out a portion of the order           03:11:51

20   in the Meyer case.                                           03:11:55

21        A.   I did.                                             03:11:57

22        Q.   And the portion of the order you boxed out         03:11:58

23   is -- the full, complete sentence in that box reads,         03:12:00

24   "The question here however" --                               03:12:03

25        A.   Do you want me to read it?                         03:12:10
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                                                              Page 230
 1        Q.   "The questions here presented, however,         03:12:11

 2   are whether such dubious practices in waiver result       03:12:14

 3   in waiver of attorney-client privilege and work           03:12:17

 4   product protection and whether disciplinary action        03:12:21

 5   is warranted."                                            03:12:23

 6             My version is very faint.                       03:12:25

 7        A.   Yes, you read it correctly.                     03:12:28

 8        Q.   What did you tell the participants about        03:12:30

 9   that?                                                     03:12:31

10        A.   So -- so, I'm illustrating the prior --         03:12:32

11   now we've come full circle, and we're -- we've got a      03:12:34

12   judge that is examining privileged documents to           03:12:38

13   determine -- in camera to determine whether or not        03:12:45

14   they are, in fact, privileged.                            03:12:47

15        Q.   Let's turn to the next slide.   It reads --     03:12:57

16   the underlying portion reads:    "Uber and Ergo" --       03:13:00

17   who is Ergo?                                              03:13:06

18        A.   Ergo was a vendor.                              03:13:08

19        Q.   What services did the vendor provide?           03:13:10

20        A.   They provided some investigative services.      03:13:13

21        Q.   To who at Uber?                                 03:13:16

22        A.   To Uber.                                        03:13:19

23        Q.   To anyone in particular at Uber?                03:13:19

24        A.   To the -- I think the -- well, to the           03:13:21

25   security group.                                           03:13:24
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                                                              Page 231
 1        Q.   To the Threat Ops Group?                        03:13:25

 2        A.   To Threat Ops, yes.                             03:13:27

 3        Q.   And Threat Ops to SSG?                          03:13:28

 4        A.   No, this may have been before SSG.              03:13:32

 5        Q.   To Market Analytics?                            03:13:35

 6        A.   No.                                             03:13:36

 7        Q.   Just generally Threat Ops?                      03:13:37

 8        A.   This is the -- this would be more -- yes,       03:13:38

 9   just generally Threat Ops.   This is very early in my     03:13:43

10   tenure.                                                   03:13:48

11        Q.   "Uber and Ergo claimed attorney-client          03:13:48

12   privilege and/or work product protection over             03:13:52

13   numerous documents and voice recordings, and the          03:13:52

14   Court indicated it would need to review the               03:13:54

15   materials in camera to determine whether privilege        03:13:57

16   was correctly ascertained and/or whether the crime        03:13:59

17   fraud exception to the privilege applied."                03:14:02

18             What did you tell participants about that       03:14:04

19   slide?                                                    03:14:07

20        A.   So, I just walked them through this, and,       03:14:07

21   again, I'm saying:   Look, you've got a federal judge     03:14:08

22   who has issued -- this was a fairly long order, and       03:14:12

23   I think it was a 31-page-order, or something like         03:14:15

24   that -- a 31-page order.   Upfront and center, on the     03:14:18

25   first page of the order, is where he's going.             03:14:22
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                                                               Page 232
 1                And I'm kind of showing them:   Look, now,    03:14:24

 2   the judge is saying he's got all the documents in          03:14:28

 3   front of him, and he's going to look at them and see       03:14:31

 4   if it meets the elements of privilege, and he's            03:14:33

 5   going to see if the crime fraud exception applies to       03:14:36

 6   vitiate the privilege.                                     03:14:42

 7           Q.   What did you tell the participants in         03:14:46

 8   connection with the next slide?                            03:14:49

 9           A.   So these are -- I'm looking at Bates          03:14:51

10   ending in 319; is that correct?                            03:14:54

11        Q.      That's correct.                               03:14:56

12        A.      So, I'm showing, saying:   These are          03:14:59

13   clippings that were taken straight from media              03:15:01

14   reports of the -- of this case.                            03:15:04

15                So -- and here you have -- you can see on     03:15:07

16   the -- the screen capture that's on the reader's           03:15:10

17   left.    There is a message from Salle Yoo to Joe          03:15:16

18   Sullivan that has an antitrust lawsuit, SDNY against       03:15:21

19   Travis.                                                    03:15:27

20                It's got -- the next text is                  03:15:27

21   attorney-client communication-privilege.     Salle         03:15:30

22   writing to Joe:    Joe, can we find out a little more      03:15:33

23   about this plaintiff?                                      03:15:36

24                Joe responds.   Joe sends it to Mat and       03:15:37

25   says:    Please do a careful check on the plaintiff,       03:15:40
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                                                              Page 233
 1   the one who is the driver named -- part of the case.      03:15:42

 2           Q.   Is that Spencer Meyer?                       03:15:46

 3           A.   Yes, yes.                                    03:15:50

 4                But what I'm illustrating from this is,      03:15:52

 5   like, here's a communication that is marked               03:15:54

 6   privileged from the general counsel to Joe Sullivan.      03:15:56

 7   And it's been disclosed in the case, and it is --         03:15:59

 8   and it is in the news.                                    03:16:02

 9                So, to the extent I hope I disabused         03:16:04

10   everybody of the notion of marking something              03:16:07

11   privileged is going to somehow magically protect          03:16:09

12   them.                                                     03:16:13

13        Q.      The topping off from Joe Sullivan to Mat     03:16:13

14   Henley reads, and it's a little hard to read on my        03:16:15

15   copy, but I think it says, "Please do a careful           03:16:15

16   check on this plaintiff, the person who is the            03:16:19

17   driver named party in the case."                          03:16:21

18                Is it Uber's general practice to do a        03:16:23

19   careful check on plaintiffs in litigation against         03:16:25

20   Uber?                                                     03:16:28

21                MS. GOODMAN:   Object to form.               03:16:30

22                You can answer that question, but that is    03:16:36

23        way outside the scope of this case.                  03:16:36

24                THE WITNESS:   I can't comment on general    03:16:38

25        practice.    It is good security practice to         03:16:40
Case 3:17-cv-00939-WHA Document 2501-1 Filed 01/19/18 Page 33 of 48


                                                               Page 234
 1           investigate people who may be a threat to Uber,    03:16:43

 2           to Uber's riders and drivers, and certainly to     03:16:45

 3           executives of the company.                         03:16:49

 4   BY MS. TARAZI:                                             03:16:50

 5           Q.   Did Uber do a careful check of Waymo?         03:16:50

 6                MS. GOODMAN:   Object to form.                03:16:55

 7                THE WITNESS:   I am unaware of any            03:16:57

 8           investigations with respect to -- I don't even     03:16:59

 9           know how to answer that question.     I mean, I    03:17:04

10        don't know.                                           03:17:08

11                MR. STUMPHAUZER:    Talking about Waymo.      03:17:10

12        That's progress.                                      03:17:11

13   BY MS. TARAZI:                                             03:17:13

14        Q.      Did Uber do a careful check of Google?        03:17:13

15                MS. GOODMAN:   Object to form.                03:17:17

16                THE WITNESS:   Not to my knowledge.           03:17:18

17   BY MS. TARAZI:                                             03:17:19

18        Q.      If you turn over two pages, or maybe          03:17:19

19   three, to the one marked 322, it looks like a              03:17:21

20   picture of Edward Snowden.                                 03:17:25

21                What did you tell --                          03:17:26

22        A.      Let me get there.   Let me get there.         03:17:31

23        Q.      -- the people that you presented this deck    03:17:31

24   to --                                                      03:17:34

25        A.      So, I think it's -- what did I tell them      03:17:34
Case 3:17-cv-00939-WHA Document 2501-1 Filed 01/19/18 Page 34 of 48


                                                                Page 235
 1   about?     Hopefully, the image speaks for itself.          03:17:36

 2                So, we're kind of -- so, underneath the        03:17:44

 3   picture of Snowden is the famous picture of Hillary         03:17:47

 4   Clinton on her BlackBerry with her sunglasses on,           03:17:51

 5   right?     So, this is before the election, and so          03:17:55

 6   it's -- I mean, it was a different time.                    03:17:57

 7                And I say, you know:    Look, emails are       03:18:01

 8   everywhere.    Emails are -- can be taken out of            03:18:05

 9   context.     There's important things in emails that        03:18:09

10   people write all the time.    And guess what?    Snowden    03:18:14

11   pops up.    There's always somebody out there that's        03:18:18

12   going to read them.                                         03:18:21

13        Q.     Do you know who Rick Jacobs is?                 03:18:22

14        A.     Yes, I do.                                      03:18:25

15        Q.     Did you work with him?                          03:18:25

16        A.     He worked in Threat Ops.    I was a lawyer      03:18:29

17   embedded with Threat Ops.    So, yes, projects we           03:18:32

18   worked on.                                                  03:18:34

19        Q.     What kind of projects did you work on?          03:18:36

20        A.     Oh, I don't -- am I -- can I talk about --      03:18:38

21   I guess you could talk about subtopics.                     03:18:47

22               MS. GOODMAN:   You can answer that question     03:18:49

23        as a general subject matter level that would be        03:18:50

24        on a privilege log, what kind of things did you        03:18:53

25        work with him on.                                      03:18:58
Case 3:17-cv-00939-WHA Document 2501-1 Filed 01/19/18 Page 35 of 48


                                                              Page 249
 1   states:     "Early in his tenure, Jacobs advocated for    03:44:24

 2   a secure and encrypted centralized database to            03:44:26

 3   ensure confidentiality and recordkeeping, but             03:44:29

 4   provide access to intelligence for Threat Ops             03:44:32

 5   personnel.    He presented a draft proposal to            03:44:35

 6   managers Henley and Clark."                               03:44:37

 7               I don't think this is what is meant here,     03:44:41

 8   but you did not manage Mr. Jacobs, correct?               03:44:42

 9        A.     I did not manage Mr. Jacobs.                  03:44:47

10        Q.     Do you recall receiving a draft proposal      03:44:51

11   for a centralized database?                               03:44:53

12        A.     Not specifically, no.                         03:44:56

13        Q.     Do you remember discussing the centralized    03:44:58

14   database referenced on page 5 of the Jacobs letter?       03:45:02

15        A.     I don't know what Jacobs is referencing on    03:45:07

16   page 5.   And the sentence that you just read, while      03:45:08

17   I do recall a centralized -- a desire for a               03:45:11

18   centralized database that Mat Henley wanted to get        03:45:15

19   done, that I believe Jacobs was tasked to complete.       03:45:21

20        Q.     Did you object to the creation of such a      03:45:30

21   database?                                                 03:45:32

22               MS. GOODMAN:   You can answer that            03:45:35

23        question.                                            03:45:36

24               THE WITNESS:   No.                            03:45:36

25
Case 3:17-cv-00939-WHA Document 2501-1 Filed 01/19/18 Page 36 of 48


                                                               Page 259
 1        acquisition --                                        03:55:19

 2               MR. STUMPHAUZER:    No.    This one is, did    03:55:20

 3        you provide guidance.                                 03:55:21

 4               MS. GOODMAN:    Did you provide guidance.      03:55:23

 5        I'm sorry, the live feed is not accurately            03:55:25

 6        reflecting your question, so, could you please        03:55:27

 7        repeat it?                                            03:55:32

 8   BY MS. TARAZI:                                             03:55:33

 9        Q.     Did you provide guidance to SSG with           03:55:33

10   respect to the acquisition of non-attributable             03:55:35

11   hardware?                                                  03:55:38

12               MS. GOODMAN:   Right.     And that question    03:55:39

13        calls for legal advice, and I instruct you not        03:55:40

14        to answer.                                            03:55:42

15               MS. TARAZI:    Same instruction if I ask       03:55:45

16        about software?                                       03:55:47

17               MS. GOODMAN:   What are you going to ask       03:55:52

18        about software?                                       03:55:53

19   BY MS. TARAZI:                                             03:55:54

20        Q.     Did you provide guidance to SSG with           03:55:54

21   respect to the acquisition of non-attributable             03:55:56

22   software?                                                  03:55:59

23               MS. GOODMAN:   Same instruction.               03:55:59

24   BY MS. TARAZI:                                             03:56:03

25        Q.     Are you aware of Uber storing data on          03:56:09
Case 3:17-cv-00939-WHA Document 2501-1 Filed 01/19/18 Page 37 of 48


                                                              Page 260
 1   non-attributable devices to avoid detection,              03:56:13

 2   including in connection with legal discovery?             03:56:15

 3              THE WITNESS:   Counsel for Uber?               03:56:20

 4              MS. GOODMAN:   You may answer that             03:56:24

 5        question.                                            03:56:25

 6              THE WITNESS:   No.                             03:56:25

 7   BY MS. TARAZI:                                            03:56:25

 8        Q.    Under heading C, the heading is                03:56:32

 9   "Concealment, Cover-Up and Falsification of Records       03:56:37

10   Through the Abuse of Attorney-Client Privilege            03:56:41

11   Designations."                                            03:56:43

12             In the second paragraph, the second             03:56:50

13   sentence, beginning "during the presentation," it         03:56:52

14   states:   "Clark verbally coached the participants on     03:56:55

15   how to use attorney-client privilege to ensure            03:56:57

16   sensitive intelligence collection activities would        03:56:59

17   not surface in litigation."                               03:57:03

18             Is that correct?                                03:57:05

19             THE WITNESS:    Counsel for Uber?               03:57:06

20             MS. GOODMAN:    You may answer that.            03:57:07

21             THE WITNESS:    Sorry?                          03:57:09

22             MS. GOODMAN:    You may answer that.            03:57:09

23             THE WITNESS:    No.                             03:57:10

24   BY MS. TARAZI:                                            03:57:10

25        Q.   The next sentence reads:   "Clark also          03:57:10
Case 3:17-cv-00939-WHA Document 2501-1 Filed 01/19/18 Page 38 of 48


                                                                 Page 290
 1   redacted.                                                    04:53:50

 2               THE WITNESS:   Counsel?                          04:53:51

 3               MS. GOODMAN:   Object to form.    And, again,    04:53:52

 4        you're asking a question, does Mr. Clark                04:53:53

 5        understand whether Uber worked unlawfully to            04:53:56

 6        obtain trade secrets generally.                         04:53:59

 7               You cannot ask that question without             04:54:01

 8        asking him to reveal his legal conclusions and          04:54:03

 9        mental judgments.                                       04:54:05

10               Also, the question has nothing to do --          04:54:06

11        or the part of the letter from which you are            04:54:08

12        reading has nothing to do with Waymo, and the           04:54:10

13        thing is, there's a redaction about who                 04:54:12

14        Mr. Jacobs is alleging in this context.      That's     04:54:16

15        not relevant to this case.       So, you should move    04:54:19

16        on.                                                     04:54:21

17   BY MS. TARAZI:                                               04:54:24

18        Q.     Are you aware of Uber ever remotely              04:54:24

19   accessing confidential corporate communications and          04:54:27

20   data from Waymo?                                             04:54:31

21               MS. GOODMAN:   If you can answer that            04:54:33

22        question without revealing information in the           04:54:34

23        course of an attorney-client communication,             04:54:36

24        then go ahead and do so.                                04:54:43

25               THE WITNESS:   No.                               04:54:45
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                                                                Page 301
 1   probably much more than that.                               05:15:07

 2        Q.   Did any litigation hold that you received         05:15:09

 3   in connection with the Jacobs allegation instruct           05:15:11

 4   you not to use Wickr to discuss the case?                   05:15:14

 5        A.   I don't recall the specific hold.       I need    05:15:16

 6   to see it.     But it should be in my documents.            05:15:20

 7        Q.   Do you recall ceasing to use Wickr to             05:15:22

 8   discuss Jacobs' allegations after receiving the             05:15:26

 9   litigation hold?                                            05:15:29

10        A.   Yes.    I would not discuss the substance of      05:15:30

11   a matter that was on legal hold on an ephemeral             05:15:33

12   communication tool.                                         05:15:40

13        Q.   Did you turn over your personal cell phone        05:15:41

14   in connection with the litigation hold placed in            05:15:47

15   connection with the Jacobs matter?                          05:15:51

16             MS. GOODMAN:    Objection, asked and              05:15:53

17        answered.                                              05:15:53

18             THE WITNESS:    No.                               05:15:54

19             MS. TARAZI:    For the record, I have             05:16:08

20        withdrawn the exhibit previously marked as             05:16:09

21        Exhibit 9712.                                          05:16:11

22   BY MS. TARAZI:                                              05:16:20

23        Q.   Did you have any -- did you ever play --          05:16:20

24   strike that.    I'll start again.                           05:16:23

25             Did you play any role in investigating the        05:16:24
Case 3:17-cv-00939-WHA Document 2501-1 Filed 01/19/18 Page 40 of 48


                                                               Page 302
 1   allegations in the Jacobs letter?                          05:16:26

 2        A.    I was interviewed.    My machine was imaged.    05:16:29

 3        Q.    Who were you interviewed by?                    05:16:35

 4        A.    Lawyers from WilmerHale.                        05:16:37

 5        Q.    Were you interviewed by anyone in-house at      05:16:45

 6   Uber in connection with that investigation?                05:16:50

 7        A.    I was with Angela Padilla and a lawyer          05:16:55

 8   from Littler, as well.     I believe she was from          05:16:58

 9   Littler.                                                   05:17:01

10        Q.    From Littler?                                   05:17:02

11        A.    Littler Mendelson.   It's a law firm.           05:17:03

12        Q.    And, also, you said by WilmerHale?              05:17:06

13        A.    Yes.                                            05:17:11

14        Q.    Are you aware of who at Uber was involved       05:17:12

15   in the investigation into the Jacobs allegations?          05:17:15

16              THE WITNESS:    Counsel?                        05:17:19

17              MS. GOODMAN:    The question is, if you         05:17:20

18        know, who at Uber was involved in the                 05:17:21

19        allegations and the investigation of the Jacobs       05:17:24

20        allegations.                                          05:17:27

21              THE WITNESS:    So, I don't know everybody      05:17:28

22        that was involved, but I can give you names of        05:17:29

23        people who I believe were involved.    Is that        05:17:32

24        what you would like me to do?                         05:17:35

25
Case 3:17-cv-00939-WHA Document 2501-1 Filed 01/19/18 Page 41 of 48


                                                               Page 356
 1        cannot do of a lawyer.                                06:57:13

 2   BY MS. TARAZI:                                             06:57:17

 3        Q.     Did Uber use non-attributable devices to       06:57:23

 4   perform competitive intelligence on Uber -- I'm            06:57:26

 5   sorry, on Waymo?                                           06:57:31

 6               MS. GOODMAN:   You can answer that question    06:57:33

 7        if you can do so without revealing the contents       06:57:34

 8        of an attorney-client communication.                  06:57:37

 9               THE WITNESS:   I don't know what you mean      06:57:41

10        by "unattributable device," but not to my             06:57:42

11        knowledge.                                            06:57:45

12   BY MS. TARAZI:                                             06:57:45

13        Q.     Did Uber use any devices that could not be     06:57:45

14   traced to Uber to perform competitive intelligence         06:57:48

15   on Waymo?                                                  06:57:51

16               MS. GOODMAN:   Object to the form.             06:57:54

17               Same instruction with regard to the            06:57:54

18        privilege.                                            06:57:56

19               THE WITNESS:   Not to my knowledge.            06:57:57

20   BY MS. TARAZI:                                             06:57:59

21        Q.     Did Uber use any devices that could not be     06:57:59

22   attributed to Uber to perform competitive                  06:58:02

23   intelligence on Google?                                    06:58:05

24               MS. GOODMAN:   Object to the form.             06:58:07

25               Same instruction regarding the privilege.      06:58:08
Case 3:17-cv-00939-WHA Document 2501-1 Filed 01/19/18 Page 42 of 48


                                                              Page 357
 1             THE WITNESS:   Not to my knowledge.             06:58:10

 2   BY MS. TARAZI:                                            06:58:20

 3        Q.   Have you ever heard the phrase,                 06:58:21

 4   "augmented, non-attributable Internet collection"?        06:58:22

 5             MS. GOODMAN:   Yes or no?                       06:58:28

 6             THE WITNESS:   No.                              06:58:31

 7   BY MS. TARAZI:                                            06:58:31

 8        Q.   Has Uber ever used vendors to perform           06:58:31

 9   competitive intelligence tasks using devices that         06:58:35

10   could not be attributed to Uber?                          06:58:38

11             MS. GOODMAN:   Same instruction with            06:58:41

12        respect to the privilege.                            06:58:42

13             THE WITNESS:   Not to my knowledge.             06:58:47

14   BY MS. TARAZI:                                            06:58:52

15        Q.   Who was involved in the competitive             06:58:53

16   intelligence gathering that Uber conducted of Waymo?      06:58:57

17   When I say "Waymo" in this context, I'm referring to      06:59:05

18   Waymo and Google's self-driving car division.             06:59:08

19             THE WITNESS:   Counsel for Uber?                06:59:13

20             MS. GOODMAN:   Object to the form of the        06:59:16

21        question.                                            06:59:17

22             You may answer that to the extent you can       06:59:17

23        do so without revealing the contents of an           06:59:19

24        attorney-client communication.                       06:59:22

25             THE WITNESS:   Okay.   Can you re-ask the       06:59:23
Case 3:17-cv-00939-WHA Document 2501-1 Filed 01/19/18 Page 43 of 48


                                                              Page 371
 1        Q.     Do you have any knowledge that anyone in      07:27:23

 2   the autonomous vehicle group at Uber ever                 07:27:25

 3   purposefully labeled a document as privileged in          07:27:28

 4   order to hide it from the court overseeing this           07:27:30

 5   litigation?                                               07:27:33

 6        A.     I'm sorry, can you -- can you -- can you      07:27:34

 7   reword it?                                                07:27:36

 8        Q.     Do you have any knowledge that anyone in      07:27:37

 9   the autonomous vehicle group at Uber ever                 07:27:39

10   purposefully labeled a document as privileged in          07:27:42

11   order to hide it from the court overseeing this           07:27:44

12   litigation?                                               07:27:47

13        A.     No.                                           07:27:48

14        Q.     Did you ever mark a document as               07:27:51

15   "attorney-client privileged" in order to hide it          07:27:52

16   from Waymo or Google?                                     07:27:57

17        A.     No.                                           07:27:58

18        Q.     Would you ever do that?                       07:27:58

19        A.     No.                                           07:27:59

20        Q.     Did you ever direct anyone to destroy         07:28:00

21   evidence?                                                 07:28:03

22        A.     No.                                           07:28:03

23        Q.     I would like to show you a document that      07:28:05

24   we will mark 9715.   This is a document bearing Bates     07:28:08

25   label UBER 00355965, which I understand is being          07:28:29
Case 3:17-cv-00939-WHA Document 2501-1 Filed 01/19/18 Page 44 of 48


                                                              Page 372
 1   introduced to Waymo today in connection with a            07:28:33

 2   variety of discovery requests that they have put on       07:28:37

 3   us at this close of discovery.                            07:28:39

 4             Do you have the document in front of you?       07:28:41

 5        A.   I don't have it.   You didn't give the          07:28:46

 6   court reporter a chance to mark it.                       07:28:47

 7             (The referred-to document was marked by         07:28:58

 8        the court reporter for Identification as             07:28:58

 9        Deposition Exhibit 9715.)                            07:28:58

10   BY MS. GOODMAN:                                           07:29:01

11        Q.   I ask you to review this document.              07:29:03

12             (A discussion was held off the record,          07:29:46

13        after which the following proceedings were           07:29:46

14        held:)                                               07:29:46

15   BY MS. GOODMAN:                                           07:29:54

16        Q.   Have you had a chance?                          07:29:54

17        A.   Almost.                                         07:29:55

18        Q.   Okay.                                           07:29:56

19        A.   Yes, I read the document.                       07:30:27

20        Q.   All right.   I will direct your attention       07:30:28

21   to page 966, the bottom of the email string.              07:30:30

22             Alberto Fittarelli writes, "Craig, for          07:30:33

23   your review and legal advice.    Thanks, Nicoletta.       07:30:38

24   Appreciate it."                                           07:30:40

25             Do you see that?                                07:30:42
Case 3:17-cv-00939-WHA Document 2501-1 Filed 01/19/18 Page 45 of 48


                                                              Page 373
 1        A.   I do.                                           07:30:42

 2        Q.   And you respond, "This really shows the         07:30:42

 3   use of the A/C priv statement like we talked about        07:30:42

 4   last week.   Is thanking her really for my review and     07:30:46

 5   advice?   It just proves overuse."                        07:30:49

 6             What did you mean by that?                      07:30:51

 7        A.   Well, I meant that this is -- I don't see       07:30:54

 8   the elements of privilege in this.                        07:30:57

 9             I think I was -- you know, Alberto is           07:31:00

10   Italian, and I think the -- and in Europe, and so I       07:31:02

11   think -- look, the concept of privilege is hard           07:31:06

12   enough for Americans who have dealt with it, and          07:31:10

13   it's -- it's -- I think people who are not of the         07:31:14

14   United States have a much more difficult time.    So,     07:31:17

15   I'm trying to make my point.                              07:31:19

16             I think I was -- looking at this, I think       07:31:21

17   I was pretty frustrated with Alberto on this.    It       07:31:24

18   must have been close in time to a presentation that       07:31:28

19   I gave.                                                   07:31:29

20             So, I -- what I'm showing here is that          07:31:31

21   it's -- the label means nothing.                          07:31:36

22        Q.   And if you look at page -- the first page,      07:31:40

23   965, after you and Mr. Fittarelli have an exchange        07:31:42

24   about the use of privilege, you forward the string        07:31:50

25   to Rick@Uber.com.   Is that Mr. Jacobs?                   07:31:54
Case 3:17-cv-00939-WHA Document 2501-1 Filed 01/19/18 Page 46 of 48


                                                              Page 374
 1        A.   It appears to be.                               07:31:58

 2        Q.   And you say to him, "I had a long talk          07:32:00

 3   with Alberto this morning.     I was disheartened by      07:32:02

 4   the fact that my legal priv training did not sink         07:32:05

 5   in, even though this is almost identical to an            07:32:09

 6   example I had them all discuss and go through."           07:32:11

 7             Why did you share with Mr. Jacobs the fact      07:32:15

 8   that you were disheartened that your legal priv           07:32:20

 9   training did not sink in to Mr. Fittarelli?               07:32:22

10        A.   Jacobs was Mr. Fittarelli's manager.            07:32:25

11        Q.   And you wanted his manager to know to get       07:32:27

12   feedback about this?                                      07:32:31

13        A.   Yeah.   It's frustrating when you spend all     07:32:32

14   of that time and fight all these dogs to put              07:32:35

15   together in a deck.                                       07:32:38

16        Q.   You see the top email is from Rick Jacobs       07:32:41

17   to                         ?                              07:32:44

18        A.   Yes.                                            07:32:48

19        Q.   And I noticed when you were reviewing this      07:32:48

20   document, you might have chuckled to yourself.    I'm     07:32:50

21   wondering if you chuckled in response to that             07:32:53

22   forward of the communication from himself to his          07:32:55

23   personal email?                                           07:32:57

24        A.   Yes, I did find that interesting.               07:32:59

25        Q.   What do you find interesting about that?        07:33:01
Case 3:17-cv-00939-WHA Document 2501-1 Filed 01/19/18 Page 47 of 48


                                                              Page 375
 1        A.   Well, this is information -- internal           07:33:03

 2   information that he has exfiltrated.                      07:33:05

 3        Q.   And what's the date on Mr. Jacobs' forward      07:33:09

 4   to himself?                                               07:33:12

 5        A.   April 13, 2017, at 5:50 p.m.                    07:33:15

 6        Q.   Do you recall the date of Mr. Jacobs'           07:33:28

 7   resignation email?                                        07:33:32

 8        A.   I don't.                                        07:33:34

 9        Q.   Do you have Exhibit 9711 in front of you?       07:33:35

10        A.   Let me take a look.    Ninety-seven what?       07:33:40

11        Q.   Eleven.                                         07:33:44

12        A.   Yes.                                            07:34:01

13        Q.   And if you flip to the last -- the page         07:34:02

14   ending 655 --                                             07:34:05

15        A.   Yes.                                            07:34:10

16        Q.   -- the email from Rick Jacobs that begins       07:34:11

17   sort of a third down the page?                            07:34:15

18        A.   Yes.                                            07:34:17

19        Q.   Is that his resignation email?                  07:34:17

20        A.   It appears to be.                               07:34:19

21        Q.   And what is the date on that?                   07:34:21

22        A.   April 14, 2017, 10:38 a.m.                      07:34:22

23             MS. GOODMAN:   No further questions.   I        07:34:27

24        pass the question to your counsel.                   07:34:29

25             MR. STUMPHAUZER:    Actually, I think the       07:34:31
     Case 3:17-cv-00939-WHA Document 2501-1 Filed 01/19/18 Page 48 of 48
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1                      C E R T I F I C A T E
2     STATE OF FLORIDA            )
3                                 : ss
4     COUNTY OF MIAMI-DADE )
5
6                    I, KELLI ANN WILLIS, a Registered
7            Professional, Certified Realtime Reporter and
8            Notary Public within and for The State of
9            Florida, do hereby certify:
10                   That CRAIG CLARK, the witness whose
11           deposition is hereinbefore set forth was duly
12           sworn by me and that such Deposition is a true
13           record of the testimony given by the witness.
14                   I further certify that I am not related
15           to any of the parties to this action by blood
16           or marriage, and that I am in no way interested
17           in the outcome of this matter.
18                   IN WITNESS WHEREOF, I have hereunto set
19           my hand this 26th day of December, 2017.
20
21
22                    <%signature%>
23                    KELLI ANN WILLIS, RPR, CRR
24
25

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